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IN THE UNITED sTATES DISTRICT coURT Fu.E[) ;1~3~;'.
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISIQN 053{}$1-6 PH 31 59
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COURTNEY MONTEZ MEANS,
Plaintiff,
vs. Civ. No. 03-2352-M1[P

SHELBY COUNTY, et al.,

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANTS' MOTION FOR
AN ORDER REQUIRING PLAINTIFF TO ANSWER INTERROGATORIES AND
PRODUCE DOCUMENTS, OR IN THE ALTERNATIVE, TO DISMISS THE CASE,
AND PLAINTIFF'S MOTION FOR PROTECTIVE ORDER

 

Before the court is defendants' Motion for an Order Requiring
Plaintiff to Answer Interrogatories and Produce Documents, or in
the Alternative, to Dismiss the Case, filed May 13, 2005 (dkt
#107), and plaintiff's Motion for Protective Order, filed May 16,
2005 (dkt #llO). Defendants contend that counsel served
plaintiff's counsel with interrogatories and requests for
production of documents on April 6, 2005. On May 10, 2005, defense
counsel contacted plaintiff's counsel and asked about the status of
the responses. At that time, plaintiff's counsel informed defense
counsel that they did not know exactly when plaintiff would respond
to the discovery requests, because he is a prisoner and is

currently incarcerated. On May 12, 2005, plaintiff's counsel hand-

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delivered a letter to defense counsel asking for a thirty-day
extension to respond to the discovery requests. Defense counsel
did not agree to the extension, and on May 13, filed their motion.
On May 16, plaintiff filed his motion for an extension of time to
respond to the discovery requests.

Since plaintiff's responses to the interrogatories and
document requests were due by May 6, 2005, plaintiff's motion for
protective order should have been filed prior to that date.
However, in light of the fact that plaintiff is incarcerated, the
court finds good cause to grant a limited extension of time to
allow him to respond to the discovery requests. Defendants' motion
and plaintiff's motion are GRANTED in part and DENIED in part.
Plaintiff shall have until June 15, 2005, to respond to the
outstanding interrogatories and document requests.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date

 

     

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Notice of Distribution

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US DISTRICT COURT

